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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

M.G.U, et al.                                  )
                                               )
                                               )
                      Plaintiffs,              )     No. 1:18-cv-01458 (PLF)
                                               )
v.                                             )
                                               )
KIRSTJEN NIELSEN, et al.,                      )
                                               )
                      Defendants.              )


                           UNOPPOSED MOTION FOR A STAY
                           OF CASE DEADLINES IN LIGHT OF
                            LAPSE OF APPROPRIATIONS

       Defendants hereby move for a stay of all case deadlines in the above-

captioned case.

       1.       At the end of the day on December 21, 2018, the appropriations act

that had been funding the Department of Justice expired and appropriations to the

Department lapsed. The same is true for several other Executive agencies,

including Defendant the U.S. Department of Homeland Security (“DHS”). The

Department does not know when funding will be restored by Congress.

       2.       Absent an appropriation, Department of Justice attorneys and

employees of DHS are prohibited from working, even on a voluntary basis, except

in very limited circumstances, including “emergencies involving the safety of

human life or the protection of property.” 31 U.S.C. § 1342.
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      3.      Undersigned counsel for the Department of Justice therefore requests

a stay of all deadlines in this case until Congress has restored appropriations to the

Department.

      4.      If this motion for a stay is granted, undersigned counsel will notify the

Court as soon as Congress has appropriated funds for the Department. The

Government requests that, at that point, all current deadlines for the parties be

extended commensurate with the duration of the lapse in appropriations.

      5.      Opposing counsel has authorized counsel for the Government to state

that they do not oppose this motion.

      Therefore, although we greatly regret any disruption caused to the Court and
the other litigants, the Government hereby moves for a stay of all deadlines in this
case until Department of Justice attorneys are permitted to resume their usual civil
litigation functions.


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Dated: December 26, 2018           Respectfully submitted,

                                   JOSEPH H. HUNT
                                   Assistant Attorney General
                                   WILLIAM C. PEACHEY
                                   Director
                                   WILLIAM C. SILVIS
                                   Assistant Director

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                                           and

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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

M.G.U, et al.                                     )
                                                  )
                                                  )
                      Plaintiffs,                 )      No. 1:18-cv-01458 (PLF)
                                                  )
v.                                                )
                                                  )
KIRSTJEN NIELSEN, et al.,                         )
                                                  )
                      Defendants.                 )



                                    [PROPOSED] ORDER

       UPON CONSIDERATION of Defendants’ UNOPPOSED MOTION FOR A STAY

OF CASE DEADLINES IN LIGHT OF LAPSE OF APPROPRIATIONS, and for good

cause shown, it is hereby

       ORDERED that Defendants’ motion be, and hereby is, GRANTED. All deadlines in this

case are hereby stayed until further order of this Court. Defendants will notify the Court as

soon as Congress has appropriated funds for the Department.

       SO ORDERED.



________________                                  ____________________________
Date                                              PAUL L. FRIEDMAN
                                                  United States District Judge




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 26th day of December 2018, I electronically filed the

foregoing document with the Clerk of the Court using CM/ECF, which will automatically serve

all counsel of record with a copy of said document.

                                             _/s/ Sarah B. Fabian
                                             SARAH B. FABIAN
                                             Senior Litigation Counsel
                                             U.S. Department of Justice




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